Case 2:04-cr-20195-SH|\/| Document 83 Filed 06/23/05 Page 1 of 2\ Page|D 103

IN THE UNITED s'rA'rEs DIs'rRIcT coURT F"~ED 3"' - -- D--C
FoR THE wEs'rEnN DIsTRIcT oF TENNESSEE 7 ~.
wEsTERN DIvIsIoN 05 JUN 23 PH 51 h .

 

ROEE§RT R. Dl 't`;-HGLIO
CLEHK,US.DEHICI

UNITED STATES OF AMERICA, W.D. OF TN, ME£MF'HIS

Plaintiff,
vs.

CR. NO. 04~20195-Ol-Ma

LEO BEARDEN ,

-_/-._¢‘-._v\-._r\-._¢\_¢-_.’-_r~_/

Defendant.

 

O'RDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on June 9, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Leo Bearden, appearing in person and with appointed
counsel, Mr. Juni Ganguli.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, September 9, 2005
at 2:30 p.m.

The defendant is remanded to the custody of the United States
Marshal pending sentencing.

q‘t..¢&

ENTERED this the day of June, 2005.

M%h’I/L___

SAMUEL H. MAYS, JR.

 

UNITED STATES DISTRICT JUDGE /

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ENNESSEE

 

David Pritchard

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Honorable Samuel Mays
US DISTRICT COURT

